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                   MDL 1570 PLAINTIFFS’ EXECUTIVE COMMITTEES
                             In re: Terrorist Attacks on September 11, 2001 (S.D.N.Y.)

    Plaintiffs’ Executive Committee for Personal                      Plaintiffs’ Executive Committee for
               Injury and Death Claims                                         Commercial Claims
 Ronald L. Motley (1944-2013)                                  Stephen A. Cozen, Co-Chair
 Jodi Westbrook Flowers / Donald A. Migliori, Co-Chairs        Sean Carter, Co-Chair
 MOTLEY RICE LLC                                               COZEN O’CONNOR
 James P. Kreindler, Co-Chair
 KREINDLER & KREINDLER LLP

 Andrew J. Maloney III, Co-Liaison Counsel                      J. Scott Tarbutton, Liaison Counsel
 KREINDLER & KREINDLER LLP                                      COZEN O’CONNOR
 Robert T. Haefele, Co-Liaison Counsel
 MOTLEY RICE LLC
                                                          VIA ECF
September 10, 2021

 The Honorable Sarah Netburn, U.S. Magistrate Judge
 United States District Court for the S.D.N.Y.
 Thurgood Marshall U.S. Courthouse
 40 Foley Square
 New York, NY 10007

         Re:       In Re: Terrorist Attacks on September 11, 2001, 03 MDL 1570 (GBD) (SN)

Dear Judge Netburn:
The Plaintiffs’ Executive Committees make this submission on behalf of parties that are subject to
Section B.2. of the Court’s Order at ECF No. 7082 (“Plaintiff Law Firms”). Although the Court’s
Order at ECF No. 7100 stayed the obligation of such parties to submit declarations to the Court,
pending resolution of Oath Inc.’s motion to intervene, those parties have authorized the PECs to
submit declarations to voluntarily comply with the Court’s Order, notwithstanding the Court’s stay
Order. Certain additional counsel who are not technically covered by Section B.2 of the Court’s
August 31, 2021 Order likewise volunteered declarations for the PECs to submit, as well.

The counsel who have voluntarily agreed to submit declarations to comply with ECF No. 7082,
Section B.2. are:

         Counsel for Personal Injury and Death Plaintiffs
        Dorthea M. Capone for Baumeister & Samuels, P.C.;
        Jeanne M. O’Grady for Speiser Krause, PC; and
        Jack Quinn for the Law Office of John M. Quinn, Esq.
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_______________________________________


          Counsel for Commercial Plaintiffs
         Robert C. Sheps for Sheps Law Group, P.C.;
         Ann C. Taylor for Lock Lord LLP;
         Scott S. Katz for Butler Weihmuller Katz Craig LLP;
         Jessica M. Skarin for Butler Weihmuller Katz Craig LLP;
         Catherine B. Altier for Ford Marrin Esposito Witmeyer & Gleser LLP; and
         Patrick Petrocelli for Strook & Strook & Lavan LLP.

The PECs are unaware of any other counsel or firms encompassed within section B.2 of the Court’s
August 31, 2021 Order.

Respectfully submitted,

 COZEN O’CONNOR                                    MOTLEY RICE LLC

 By: /s/ Sean P. Carter                            By: /s/ Robert T. Haefele
 SEAN P. CARTER                                    ROBERT T. HAEFELE
 COZEN O’CONNOR                                    MOTLEY RICE LLC
 One Liberty Place                                 28 Bridgeside Boulevard
 1650 Market Street, Suite 2800                    Mount Pleasant, SC 29465
 Philadelphia, Pennsylvania 19103                  Tel.: (843) 216-9184
 Tel.: (215) 665-2105                              Email: rhaefele@motleyrice.com
 Email: scarter@cozen.com                          For the Plaintiffs’ Exec. Committees
 For the Plaintiffs’ Exec. Committees


cc:       The Honorable George B. Daniels, via ECF
          All Counsel of Record via ECF
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                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


 In re Terrorist Attacks on September 11, 2001 03 MDL 1570 (GBD) (SN)


This document relates to:
All Actions

                       DECLARATION OF DOROTHEA M. CAPONE
       I, Dorothea M. Capone, pursuant to 28 U.S.C. § 1746, hereby declare under penalty of

perjury that:

       1.       I am an attorney admitted to practice in this Court in the above-captioned matter,

a partner at Baumeister & Samuels, P.C. and counsel to Plaintiffs in the above referenced

multidistrict litigation proceeding, In Re: Terrorist Attacks on September 11, 2001, Civil Action

03 MD 1570 (GBD) (SN) (“September 11th Terrorist Attacks Lawsuit”). I submit this

Declaration in response to the Court’s August 12, 2021, Order (ECF No. 7011).

       2.       In connection with the September 11th Terrorist Attacks Lawsuit, I signed the

FBI Protective Order (ECF No. 4255 at 10) and am aware of and have reviewed the Protective

Order (ECF No. 1900). For the past nineteen years, I have been one of the primary attorneys at

Baumeister & Samuels, P.C. representing the family members of those murdered in the

September 11th Terrorist Attacks in this lawsuit against the Kingdom of Saudi Arabia.

       3.       As part of the September 11th Terrorist Attacks Plaintiffs Lawsuit, I remotely

attended the deposition of the Kingdom of Saudi Arabia's former Ministry of Foreign Affairs,

Islamic Affairs Division employee Musaed al Jarrah on June 17 and 18, 2021.

       4.       On June 29, 2021, I obtained a copy of the final transcripts of the Jarrah

deposition from a paralegal at Kreindler & Kreindler, LLC. The only individuals from my firm

who received emailed copies of the final transcript was my paralegal and myself.
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         5.    At no time did I or my paralegal share the Jarrah deposition transcript with

anyone unauthorized to see it under the Protective Order and the FBI Protective Order.

         6.    At no time did I or my paralegal direct anyone to share the Jarrah deposition

transcript with anyone unauthorized to see it under the Protective Order and the FBI Protective

Order.

         7.    Following publication of the Michael Isikoff article, our firm reviewed its

handling of the Jarrah deposition transcript after its receipt by the firm, and I am positive that no

one from the firm, and no one acting at the direction from anyone at the firm, shared the Jarrah

deposition transcript with anyone unauthorized by the Protective Order and the FBI Protective

Order.

         9.    I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge and belief.

Dated: New York, New York
       September 7, 2021                               BAUMEISTER & SAMUELS, P.C.

                                                       By: _/s/ Dorothea M. Capone______
                                                               Dorothea M. Capone
                                                       140 Broadway, 46th Floor
                                                       New York, NY 10005
                                                       Tel.: (212) 363-1200
                                                       Email: tcapone@baumeisterlaw.com
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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

                                                          03-md-1570 (GBD)(SN)
 In re Terrorist Attacks on September 11, 2001
                                                          ECF Case

 This document relates to:
 All Cases

                      DECLARATION OF JEANNE M. O’GRADY
              IN SUPPORT OF MOTION FOR PARTIAL FINAL JUDGMENTS

         JEANNE M. O’GRADY, Esq., hereby states under penalty of perjury that:

         1.    I am an attorney admitted to practice before this Cout, and am a member of Speiser

Krause, PC, representing certain Ashton Plaintiffs in the above-captioned multidistrict litigation.

I submit this Declaration in response to the Court’s Order dated August 30, 2021 (ECF No. 7082).

         2.    In connection with the In re Terrorist Attacks on September 11, 2001 litigation, I

have reviewed and signed the FBI Protective Order (ECF No. 4255) and am aware of and have

reviewed the Court’s general Protective Order governing discovery in this litigation (ECF No.

1900).

         3.    As part of the above captioned litigation, I attended the deposition of Musaed al

Jarrah via videoconference on June 17-18, 2021.

         4.    I did not receive a copy of the al Jarrah deposition transcript, nor did I view or share

the al Jarrah videoconference with anyone unauthorized to see it under the Protective Orders.

         5.    At no time did I direct anyone to obtain or to share the al Jarrah deposition transcript

or videos with Yahoo! News chief investigative correspondent Michael Isikoff, with anyone acting

on his behalf, or anyone else not authorized to receive the deposition under the terms of the

Protective Orders.

         6.    I did not communicate with Michael Isikoff, with anyone acting on his behalf, or
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anyone else not authorized to receive the deposition under the terms of the Protective Orders,

regarding the contents of the Al Jarrah deposition at any time, including without limitation from

June 1, 2021 to present.

        7.     Following this Court’s August 30, 2021, Order, our firm conducted a review of our

firm’s communications, including personal interviews as well as searches performed by the firm’s

information technology director of all incoming and outgoing emails. Based on that review, and

my personal knowledge, no one with the firm or acting on its direction communicated with Michael

Isikoff, with anyone acting on his behalf, or anyone else not authorized to receive the deposition

under the terms of the Protective Orders, regarding the contents of the al Jarrah deposition at any

time.

        8.     I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge and belief.

Dated: September 8, 2021
       Rye Brook, New York
                                             /s/ Jeanne M. O’Grady
                                             JEANNE M. O’GRADY (JO3362)
                                             Speiser Krause, PC
                                             800 Westchester Avenue, Suite S-608
                                             Rye Brook, New York 10573
                                             Tel: (914) 220-5333
                                             Fax: (914) 220-5334
                                             jog@speiserkrause.com
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               FILED UNDER SEAL – SUBJECT TO MDL PROTECTIVE ORDER

                           UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK

____________________________________
                                    :
IN RE: TERRORIST ATTACKS ON         : Civil Action No. 03 MDL 1570 (GBD) (SN)
SEPTEMBER 11, 2001                  : ECF Case
____________________________________:
This document related to:

All cases

                            DECLARATION OF ROBERT C. SHEPS

          I, Robert C. Sheps, pursuant to 25 U.S.C. § 1746, hereby declare under penalty of perjury

that:

          1.     I am a member attorney with the law firm of Sheps Law Group, P.C. I represent

the “Charter Oak” plaintiffs in the above-captioned action, I am a member in good standing of the

New York bar since 1996 and have been admitted, and remain in good standing, in the Southern

District of New York since 1997.

          2.     No one employed by or acting at the direction of the Sheps Law Group, P.C. shared

the Al Jarrah deposition transcript with Yahoo! News journalist Michael Isikoff, or anyone acting

on his behalf, or anyone not authorized to receive the deposition under the terms of the Protective

Orders;

          3.     No one employed by or acting at the direction of the Sheps Law Group, P.C.

communicated with Mr. Isikoff or anyone acting on his behalf regarding the contents of the Al

Jarrah deposition from June 1, 2021 to August 1, 2021, In fact, we have never communicated with

him in any way for any reason to the best of my knowledge.
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        4.      I am confident there is no way that there could have been a breach of the Protective

Order leading to someone gaining access and sending the subject transcript to anyone related to

the media from my lawfirm. I am the only member in my very small lawfirm actively handling

the matter. I have personally asked every employee of the firm and no one else even knew who Al

Jarrah or Michael Isikoff even is. I am the only person in my firm who was aware that the

deposition of Al Jarrah even took place and participated. No one else in the firm had access to any

data base to download the transcript. I did not receive any email with either the rough or final

transcript from the court reporter Golkow Litigation Services. Indeed, the al Jarrah transcript was

never received or downloaded by anyone in my firm from any database. No other employee would

have any idea as how to go about obtaining the transcript even if they wanted to do so. I am quite

positive there is no way our firm was involved in any way in the alleged transmission of the Al

Jarrah transcript to Mr. Isikoff.

        5.      I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge and belief.



Dated: September 3, 2021
                                                      ____________________________________
                                                      Robert C. Sheps, Esq.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------X
                                                                      03-MD-1570 (GBD)(SN)
In re:                                                                Case No. 1-17-cv-03810
                                                                      Case No. 1-16-cv-7456

         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001                                           DECLARATION OF
                                                                      JESSICA M. SKARIN

------------------------------------------------------------------X

         I, Jessica M. Skarin, hereby swear to the following:

         1.      I am a Partner at Butler Weihmuller Katz Craig LLP and I am admitted to practice

pro hac vice in the above-caption matter. On behalf of our clients in Case Nos. 1-16-cv-7456 and

1-17-cv-03810, our firm is an active Plaintiff Law Firm in this multi-district litigation. I make this

Declaration pursuant to this Court’s instructions in its August 30, 2021, Order. I have personal

knowledge of and am competent to testify to the facts set forth below.

         2.      The sole persons at Butler Weihmuller Katz Craig LLP who have worked on this

matter include myself, Managing Partner Scott Katz, and Paralegal Elizabeth Berry. Either myself

or Scott Katz have attended various depositions in this matter.

         3.      Specifically, I attended the depositions of Omar al Bayoumi, and Fahad al Thumairy.

I did not attend the Musaed al Jarrah deposition that took place June 17-18, 2021, nor did anyone

from our firm. I assisted Scott Katz in reviewing the time entries for this matter to confirm which

depositions were attended by our firm.

         4.      I did not order the transcript of any deposition in this case and we do not have access

to any of the deposition transcripts in this case. I assisted with a review of our document

management system and no deposition transcripts were found.
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       5.      I have not communicated with Michael Isikoff, or anyone acting on his behalf,

regarding any matters relating to this lawsuit. I have not shared a deposition transcript from this

lawsuit with Mr. Isikoff, or any other person.

       6.      Additionally, I personally conferred with Paralegal Elizabeth Berry of our office to

confirm that she has had no communications with Michael Isikoff or anyone acting on his behalf.


       I declare under penalty of perjury that the foregoing is true and correct. Executed in Dallas,

Texas on August 31, 2021.



                                              _______________________________________
                                              Jessica M. Skarin
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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


In re Terrorist Attacks on September 11, 2001     03 MDL 1570 (GBD)(SN)
                                                  ECF Case


This document relates to:     All Cases


                       DECLARATION OF CATHERINE B. ALTIER

       I, Catherine B. Altier, pursuant to 28 U.S.C. § 1746, hereby declare under penalty of

perjury that:

       1.       I am an attorney with the law firm of Ford Marrin Esposito Witmeyer & Gleser,

LLP (“Ford Marrin”) and am admitted to practice in this Court. I represent plaintiffs Continental

Casualty Company, Transcontinental Insurance Company, Transportation Insurance Company,

Valley Forge Insurance Company, National Fire Insurance Company of Hartford, and American

Casualty Company of Reading, Pennsylvania in connection with the above-referenced litigation.

       2.       I attended the virtual deposition of Mussaed Al Jarrah on June 17, 2021 and June

18, 2021. No one else from Ford Marrin attended either day of the Al Jarrah deposition.

       3.       I have not yet ordered a copy of the transcript from the Al Jarrah deposition, nor

did I receive a copy of the rough or final transcript from another source. Therefore, I have not

had and do not currently have access to the Al Jarrah transcript.

       4.       Thus, I did not share the deposition transcript with Michael Isikoff or anyone

acting on his behalf, or anyone not authorized to receive the transcript under the terms of the

Protective Orders.
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         5.     Further, I did not direct anyone else to share the deposition transcript with Mr.

Isikoff or anyone acting on his behalf, or anyone not authorized to receive the transcript under

the terms of the Protective Orders.

         6.     I did not communicate with Mr. Isikoff or anyone acting on his behalf regarding

the contents of the Al Jarrah deposition from June 1, 2021 to August 1, 2021 (or at any other

time).

         7.     Additionally, I did not direct anyone else to communicate with Mr. Isikoff or

anyone acting on his behalf regarding the contents of the Al Jarrah deposition from June 1, 2021

to August 1, 2021 (or at any other time).

         I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.

Executed on September 8, 2021.

                                                               ______________________
                                                               CATHERINE B. ALTIER




                                                   2
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                            UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK



 In re Terrorist Attacks on September 11, 2001           03 MDL 1570 (GBD) (SN)



This document relates to:
All Actions

                     DECLARATION OF PATRICKN. PETROCELLI

       I, Patrick N. Petrocelli, pursuant to 28 U.S.C. § 1746, hereby declare under penalty of

perjury the following.

       1.      I am an attorney admitted to practice in the State of New York and in this Court.

I am a Special Counsel at Stroock & Stroock & Lavan LLP ("Stroock"), counsel for Plaintiffs

Arrowood Indemnity Company, formerly known as Royal Indemnity Company, and Arrowood

Surplus Lines Insurance Company, formerly known as Royal Surplus Lines Insurance Company.

I submit this declaration in response to the Court's Order, entered on August 30, 2021, at ECF

No. 7082.

       2.      In response to the Court's August 30, 2021 Order, I asked Stroock's information

technology personnel to run searches for all emails sent or received between June 1, 2021, and

August 1, 2021, that contained the terms *golkow* or *isiko:f:Pl'. I make this declaration based

upon my own knowledge and knowledge obtained from these searches.

       3.      On June 16, 2021, I received an email from Golkow Litigation Services that

included a link to access the Zoom deposition of Mussaed Al Jarrah ("Al Jarrah"), scheduled for

June 17-18, 2021. I was the only recipient from Stroock included on the email, and I did not
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forward the email to anyone else. To the best of my knowledge, other than myself, no one

employed by or acting at the direction of Stroock had access to the Al Jarrah deposition link.

       4.      I did not access the link to the Al Jarrah deposition nor did I otherwise attend the

Al Jarrah deposition. To the best of my knowledge, no one employed by or acting at the

direction of Stroock attended the Al Jarrah deposition.

       5.      I have not ordered or otherwise received a copy of the transcript from the Al

Jarrah deposition. To the best of my knowledge, no one employed by or acting at the direction

of Stroock ordered or otherwise received a copy of the transcript from the Al Jarrah deposition.

       6.      I have never had any communications (written or oral) of any kind with Michael

Isikoff or anyone acting on his behalf.

       7.      To the best of my knowledge, no one employed by or acting at the direction of

Stroock shared the Al Jarrah deposition transcript with Isikoff, anyone acting on his behalf, or

anyone not authorized to receive the deposition under the terms of the Protective Orders.

       8.      To the best of my knowledge, no one employed by or acting at the direction of

Stroock communicated with Isikoff or anyone acting on his behalf regarding the contents of the

Al Jarrah deposition from June 1, 2021, to August 1, 2021.

       9.      I also asked Stroock' s information technology personnel to run searches for all

emails sent to or by misikoff@yahoo-inc.com or misikoff@oath.com between June 1, 2021, and

August 1, 2021. That search did not return any results.

       10.     I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge and belief.

 Dated:      September 9, 2021

                                                     Patrick N. Petrocelli


                                                 2
